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6     Attorneys for Plaintiff
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8
                          UNITED STATES DISTRICT COURT
9                        CENTRAL DISTRICT OF CALIFORNIA
10

11    SYED SHAH: NIKITA MCINTIRE, )                   Case No.: 8:20-cv-02234-FLA-KES
      individually and on behalf of all others
12    similarly situated,                      )
                                               )
13                    Plaintiff,               )      NOTICE OF VOLUNTARY
14                          v.                 )      DISMISSAL OF ENTIRE ACTION
                                               )      WITHOUT PREJUDICE
15    OX CAR CARE, INC., and DOES 1 )
16    through 10, inclusive,                   )
                                               )
17                  Defendant.
                                               )
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20          NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
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      Civil Procedure 41(a)(1), hereby voluntarily dismisses this matter without
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23
      prejudice as to the individual and class claims. Defendant has neither answered
24    Plaintiff’s Complaint, nor filed a motion for summary judgment. Although this
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      case was filed as a class action, no class has been certified, and court approval of
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27    this voluntary dismissal is therefore not required under Rule 23(a) of the Federal
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                                         Notice of Dismissal - 1
     Case 8:20-cv-02234-FLA-KES Document 10 Filed 10/11/21 Page 2 of 3 Page ID #:44



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      Rules of Civil Procedure. Accordingly, this matter may be dismissed without
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      prejudice and without an Order of the Court.
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            Respectfully submitted this 11th day of October, 2021.

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7                              By:   s/Todd M. Friedman
                                     Todd M. Friedman, Esq.
8
                                     Law Offices of Todd M. Friedman, P.C.
9                                    Attorney for Plaintiff
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                                       Notice of Dismissal - 2
     Case 8:20-cv-02234-FLA-KES Document 10 Filed 10/11/21 Page 3 of 3 Page ID #:45



1
      Filed electronically on this 11th day of October 2021, with:
2
      United States District Court CM/ECF system
3

4     Notification sent on this 11th day of October, 2021, via the ECF system to all
5
      interested parties

6

7     This 11th day of October, 2021.
8
      By: s/Todd M. Friedman
9         Todd M. Friedman
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                                        Notice of Dismissal - 3
